           Case 2:19-cv-00201-DMG-KS Document 10 Filed 01/29/19 Page 1 of 1 Page ID #:40
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name and Address)                     TELEPHONE NUMBER                  FOR COURT USE ONLY
  Ahren Tiller SBN 250608                                                   (619) 894-8831
  Bankruptcy Law Center, APC
  1230 Columbia St. Ste. 1100
  San Diego, CA 92101
  ATTORNEY FOR Plaintiff

  CENTRAL DISTRICT, LOS ANGELES - ROYBAL BLDG
  255 East Temple St.
  Los Angeles, CA 90012

  SHORT TITLE OF CASE:
  Dawson, Timothy v. Synchrony Bank

  DATE:                    TIME:                    DEP./DIV.                                             CASE NUMBER:
                                                                                                          2:19-cv-00201-DMG-KS

                                        Declaration of Service                                            Ref. No. or File No:
                                                                                                          TD_SY01


                                                          United States District Court

I certify that I am authorized to serve the Summons and Complaint in the within action pursuant to F.R.Civ.P 4(c) and that I served the:
Complaint; Summons; Civil Cover Sheet; Certificate of Interested Parties; Initial Standing Order; ADR Information Packet;

On: Synchrony Bank

I served the summons at:

818 West Seventh St. 930 Los Angeles, CA 90017

On: 1/18/2019                Date: 02:10 PM

In the above mentioned action by personally serving to and leaving with
Albert Damonte - Agent for CT Corp.

A declaration of diligence and/or mailing is attached if applicable

Person attempting service:

  a. Name: Judith Smith
  b. Address: 15345 Fairfield Ranch Rd Suite 200, Chino Hills, CA 91709
  c. Telephone number: 909-664-9577
  d. The fee for this service was: 100.00
  e. I am an independent contractor:


I declare under penalty of perjury under the laws of the United States of America that the foregoing information contained in the return of
service and statement of fees is true and correct.




                                                                      Judith Smith                         Date: 01/18/2019




                                                                Declaration of Service                                           Invoice #: 2392877
